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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA |

June 2017 Grand Jur

UNITED sane OF AMERICA, Case No. : 18 GR 4685 GPC

 

Plaintifé, INDICTMENT ‘
v. Title is, U.S.C., Sec. 371 -
Conspiracy; Title 18, U.S.c.,
JACOB BYCHAK (1), Sec. 1343 - Wire Fraud;
MARK MANOOGIAN (2), Titie 18, U.S.C., Sec. 1037 (a) (5)
MOHAMMED ABDUL QAYYUM (3), and (b) (2) (c) - Electronic Mail
PETR PACAS (4), . | Fraud; Title 18, U.S.Cc.,
Sec. 2 - Aiding and Abetting; ;
Defendants. Title 18, U.S.C., Secs. 981 (a) (1) (c)
and 982(a) {1} and 1037(c), Title 28,
U.S.C., Sec. 2461(¢) - Criminal
Forfeiture

 

 

The grand jury charges:

Count 1
Conspiracy (18 U.S.C. § 371)

1. Beginning at least as early as December 2010 and continuing
up to and including at least September 2014, within the Southern District
of California and elsewhere, defendants JACOB BYCHAK, MARK MANOOGIAN,
MOHAMMED ABDUL QAYYUM, and PETR PACAS did knowingly and willfully
conspire with each other, Daniel Dye (charged elsewhere), Vincent Tarney
(charged elsewhere) and others to commit offenses against the laws of

the United States, to wit, wire fraud in violation of Title 18, United

MKP:nlv (cms) :San Diego:10/30/18

 
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States Code, Section 1343, and felony electronic mail fraud in violation
of Title 18, United States Code, Section 1037 (a) (5) and (b) (2} (c).
MANNER AND MEANS
2. The objects of the. conspiracy were to be accomplished, in
substance, as follows:

a. Members of the conspiracy would identify or pay to
identify blocks of Internet Protocol (IP) addresses
called “netblocks” that were registered to others and
appeared to be inactive.

b. Members of the conspiracy would create and send letters
to Internet hosting companies fraudulently stating the
letter bearer had been authorized by the registrants of
the inactive IP addresses to use the IP addresses.

c. Members of the conspiracy would use the fraudulently
acquired IP addresses to send commercial email (“spam’”}
messages.

OVERT ACTS
3. In furtherance of the conspiracy, the following overt acts,
among others, were committed within the Southern District of California
and elsewhere:

a. On or about August 25, 2013, in San Diego, California
defendant MOHAMMED ABDUL QAYYUM created a letter which
fraudulently purported to authorize the use of a netblock
not registered to the conspirators and emailed the letter
to defendants MARK MANOOGIAN and JACOB BYCHAK.

b. On or about January 13, 2014, in San Diego, QAYYUM emailed
BYCHAK, MANOOGIAN, and others that he was preparing

network connections and would advise when a netblock

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purchased from a company employing Daniel Dye was ready
fo send commercial emails.
All in violation of Title 18, United States Code, Section 371.
Counts 2+5
Wire Fraud - 18 U.8.C. § 1343

4. Beginning at least as early as December 2010 and continuing
up to and including at least September 2014, within the Southern District
of California and elsewhere, defendants JACOB BYCHAK, MARK MANOOGIAN,
MOHAMMED ABDUL QAYYUM and PETR PACAS, having devised a material scheme
and artifice to defraud, and for obtaining money and property by means
of materially false and fraudulent pretenses, representations and
promises, did, on the dates set forth below, transmit and cause to he
transmitted by means of wire communication in interstate commerce the
writings, Signs and signals below for purposes of executing the scheme
and artifice to defraud.

5. It was a part of the scheme and artifice to defraud that the
defendants searched for IP addresses registered to third parties that
appeared to be inactive.

6. It was a further part of the scheme and artifice to defraud
that the defendants created and sent letters to Internet hosting
companies fraudulently making it appear that the registrant of the IP
addresses had authorized the defendants’ use of the IP addresses.

7. It was a further part of the scheme and artifice to defraud
that the defendants used the IP addresses to send commercial email
messages knowing they did not obtain control of the IP addresses from
the true registrant or the legitimate successor in interest.

8. It was a further part of the scheme and artifice to defraud
that the defendants concealed their use of the IP addresses to send

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*spam’ emails by using business names, post office boxes, and email

addresses under different names.

 

Count Date From To Description

 

PayPal wire
transfer of $600.
for hosting of ECT
netblock

PayPal wire
transfer of $600
for hosting of
Telalink netblock
PayPal wire
transfer of $600
for hosting of
MooreSolutions
netblock

PayPal wire
transfer of s600
for hosting of
Telalink netblock

2 11-11-13 | San Diego Oklahoma

 

3 1-9-14 San Diego Oklahoma

 

4 2-28-14 San Diego Oklahoma

 

5 3-10-14 San Diego Oklahoma

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1343 and 2.
Counts 6-10
Electronic Mail Fraud - 18 U.S.C. 8 1037 (a) (5)

9. On or about the dates set forth below, within the Southern
Dastrict of California, defendants JACOB BYCHAK, MARK MANOOGIAN,
MOHAMMED ABDUL QAYYUM and PETR PACAS did, in and affecting interstate
commerce, knowingly and falsely represent themselves to be the
registrant and the legitimate successor in interest to. the registrant
of 5 and more Internet Protocol addresses, as described below, and
intentionally initiate the transmission of multiple commercial
electronic mail messages from such addresses, and the volume of
electronic mail messages transmitted in furtherance of the offense
exceeded 2,500 during any 24-hour period, 25,000 during any 30-day

period, and 250,000 during any l-year period:

 
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Count | Date Block of IP addresses
6 11-3-13 151.192.0.0/16 (SierraSem1)
7 11-24-13 | 167.87.0.0/16 (MooreSolut ions)
8 11-25-13 | 207.152.0.0/18 (Telalink)
9 1-25-14 168.129.0.0/16 (OpenBusinessSystems)
10 1-26-14 165.192.0.0/16 (ECT)

 

 

 

 

 

All in violation of Titie 18, United States Code, Sections 1037 {a) (5)
and (b) (2) (C), and Title 18, United States Code, Section 2.

Criminal Forfeiture Allegations

 

lO. The allegations contained in Counts 1 through 10 are realleged
herein for purposes of alleging forfeiture to the United States pursuant
to Title 18, United States Code, Sections 981{a)(1)(C), 982({(a)(1), and
1037(c), and Title 28, United States Code, Section 2461(c).

11. Upon conviction of the offense alleged in Count i
(conspiracy), pursuant to Title 18, United States Code,
Section 981(a) (1) (Cc), 982(a) (1), and 1037{c), and Title 28, United
States Code, Section 2461(c), defendants JACOB BYCHAK, MARK MANOOGIAN,
MOHAMMED ABDUL QAYYUM and PETR PACAS shall forfeit to the United States
all rights, title and interest in any and ail property, real and
personal, constituting or derived from proceeds obtained directly or
indirectly as the result of such violation; any property, real and
personal, involved in the offense and any property traceable to such
property; and any equipment, software or other technology used or
intended to be used to commit or to facilitate the commission of the
offense.

12. Upon conviction of one or more of the offenses alleged in
Counts 2 through 5 (wire fraud), and pursuant to Title 18, United States

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Code, Sections 9$81({a) (1) (Cc) and Title 28, United States Code,
Section 2461(c), defendants JACOB BYCHAK, MARK MANOOGIAN, MOHAMMED ABDUL
QAYYUM and PETR PACAS shall, upon conviction, forfeit to the United
States all rights, title and interest in any and all property, real and
personal, which constitutes or is derived from proceeds traceable to the

violations.

13. Upon conviction of one or more of the offenses alleged in

Counts 6 through 10 (electronic mail fraud), pursuant to Title 18, United

States Code, Section 1037{c), defendants JACOB BYCHAK, MARK MANOOGIAN,
MOHAMMED ABDUL QAYYUM and PETR PACAS shall, upon conviction, forfeit to
the United States all rights, title and interest in any and all property
constituting or traceable to gross proceeds obtained from such offenses,
and any equipment, software, or other technology used or intended to be
used to commit or facilitate the commission of such offenses.

14. Tf any of the above-described forfeitable property, as a
resuit of any act or omission of defendants JACOB BYCHAK, MARK MANOOGIAN,
MOHAMMED ABDUL QAYYUM and PETR PACAS-

(1) cannot be located upon the exercise of due diligence;

(2) has been transferred or sold to, or deposited with, a
third person;

(3) has been placed beyond the jurisdiction of the Court;

(4) has been substantially diminished in value; or

(5) has been commingled with other property which cannot be
subdivided without difficulty;
it is the intent of the United States, pursuant to Title 18,
United States Code, Section 982(b), Title 21, United States Code,
Section 853(p), and Title 28, United States Code, Section 2461(c) to
seek forfeiture of any other property of the defendants up to the amounts

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described above as being subject to forfeiture.

All pursuant to Title 18, United States Code, Section 981(a) (1) (c),

982{a) (1), and 1037 (¢c), and Title 28, United States
Section 2461(c).

DATED: October 31, 2018.

A TRUE BILL:

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ADAM L. BRAVERMAN
United States Attorney

By: fu he—

MELANIE K. PIERSON
Assistant U.S. Attorney

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